         Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 1 of 11




                            UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 KENNETH TOPP,
                                                                  CIVIL COMPLAINT
       Plaintiff,

 v.                                                             CASE NO.6:22-cv-00814

 THE LITIGATION PRACTICE GROUP,
 PC,                                                          JURY TRIAL DEMANDED

       Defendants.

                                          COMPLAINT

        NOW comes KENNETH TOPP (“Plaintiff”), by and through the undersigned, complaining

as to the conduct of THE LITIGATION PRACTICE GROUP, PC (“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Credit Repair Organizations Act

(“CROA”) under 15 U.S.C. § 1679 et seq., the Texas Credit Services Organizations Act

(“TCSOA”) under Tex. Fin. Code § 393.101 et seq., and the Texas Consumer Debt Management

Services Act (“TCDSMA”) under Tex. Fin. Code § 394.201 et seq., in connection with

Defendants’ unlawful conduct.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the CROA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1679, as well as 28 U.S.C. §§1331 and 1337, as the

action arises under the laws of the United States. Supplemental jurisdiction exists for the state law

claims pursuant to 28 U.S.C. §1367.




                                                 1
        Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 2 of 11




   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

within the Western District of Texas and a substantial portion of the events or omissions giving

rise to the instant claims occurred within the Western District of Texas.

                                             PARTIES

   4. Plaintiff is a “person,” as defined by 47 U.S.C. § 153(39), and consumer over 18 years of

age, residing in Killeen, Texas, which lies within the Western District of Texas.

   5. Defendant is a credit repair organization, debt settlement provider, and law corporation that

offers its customers the ability to eliminate and resolve their debt issues through Defendant’s

myriad services. Defendant is a professional corporation organized under the laws of the state of

California with its principal place of business located at 17542 17th Street, Suite 100, Tustin,

California.

   6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   8.    In approximately May of 2022, Plaintiff had numerous delinquent obligations which he

wanted to address and was seeking out the assistance of various debt relief and credit repair

companies.

   9.    Plaintiff subsequently happened upon Defendant and its services.

   10. Defendant advised that its services included disputing inaccurate information that was

appearing on Plaintiff’s credit reports and impacting his credit score, and would similarly assist




                                                 2
        Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 3 of 11




Plaintiff in reaching negotiated settlements with his various creditors in order to resolve the

obligations for less than the balance being sought by such creditors.

   11. Defendant represented that its services would include setting up a bank account, into

which Plaintiff’s monthly payments would go and from which Defendant would take funds to

perform its services and pay Plaintiff’s creditors when settlements were reached.

   12. Plaintiff found Defendant’s services desirable as he believed Defendant would be able to

get certain information removed from his credit report and would actively resolve his obligations,

and so Plaintiff agreed to utilize Defendant’s services and entered into a contract for the provision

of the same.

   13. However, after one month of using Defendant’s services, and paying approximately $350,

Plaintiff cancelled his agreement with Defendant as he was frustrated by the lack of action taken

by Defendant.

   14. Upon information and belief, rather than actually provide the services Defendant

represented it would provide, Defendant instead applied Plaintiff’s payments towards various

upfront flat-fees that were unrelated to any work performed by Defendant.

   15. Defendant thus charged Plaintiff for its services before engaging in any performance of

its duties under the agreement, let alone completely performing the services justifying its retention

of the charged fees.

   16. After Plaintiff attempted to cancel his agreement with Defendant, Defendant began

bombarding Plaintiff with phone calls.

   17. Plaintiff politely requested that Defendant cease in contacting him at the beginning of July

2022.




                                                 3
       Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 4 of 11




   18. However, Defendant repeatedly contacted Plaintiff despite his demands that such contacts

cease up until the filing of this Complaint.

   19. Defendant has failed to refund Plaintiff his payments despite being obligated to do so as

it failed to perform any services justifying its retention of such fees.

   20. Frustrated, distressed, and confused over Defendant’s conduct, Plaintiff spoke with the

undersigned regarding his rights.

   21. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, emotional distress, aggravation, mental anguish, pecuniary harm stemming from

payments made for deficient credit repair services, out of pocket damages, as well as numerous

violations of his state and federally protected interests – interests which were harmed put at a

material risk of harm stemming from Defendant’s conduct.

             COUNT I – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT

   22. Plaintiff repeats and realleges paragraphs 1 through 20 as though fully set forth herein.

   23. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the CROA.

   24. Defendant is a “credit repair organization” as defined by §1679a(3) of the CROA, as it is

a person who uses any instrumentality of interstate commerce or the mails to sell, provide, or

perform any service, in return for the payment of money or other valuable consideration, for the

express or implied purpose of improving a consumer’s credit, credit history, or credit rating, or

providing assistance to any consumer with regard to any activity or service for the purpose of

improving a consumer’s credit.

   25. Defendant’s represented services in disputing and seeking to remove information from

Plaintiff’s credit report renders it a credit repair organization under the CROA, as does its conduct

in purporting to resolve obligations on behalf of consumers for less than the full balance owed.



                                                   4
      Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 5 of 11




       a. Violations of CROA §§ 1679b(a)(3)-(4)

  26. The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person from “mak[ing] or

us[ing] any untrue or misleading representation of the services of the credit repair organization.”

Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any person is prohibited from “engag[ing],

directly or indirectly, in any act, practice, or course of business that constitutes or results in the

commission of, or an attempt to commit, a fraud or deception on any person in connection with

the offer or sale of the services of the credit repair organization.”

  27. Defendant violated the above referenced provisions of the CROA through its

misrepresentations and deception as to the nature of the credit repair services it could provide

Plaintiff. Defendant represented to Plaintiff that his payments would go towards resolving his

enrolled obligations; however, he later found out the nature of Defendant’s deceptive

representation as his initial payment went entirely towards Defendant’s fees and that Plaintiff

would need to make payments beyond his monthly payments to settle any debts. Defendant

engaged in these deceptive representations and omission regarding the nature of its services and

the charged fees so as to deprive Plaintiff of information that, had it been clarified, would have

resulted in Plaintiff refusing to use Defendant’s services. Upon information and belief, Defendant

engages in this behavior on a persistent and frequent basis in order to dupe vulnerable and

desperate consumers into making payments under false and deceptive pretenses.

       b. Violations of CROA § 1679b(b)

  28. The CROA, pursuant to 15 U.S.C. § 1679b(b), provides that “[n]o credit repair

organization may charge or receive any money or other valuable consideration for the

performance of any service which the credit repair organization has agreed to perform for any

consumer before such service is fully performed.”



                                                  5
     Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 6 of 11




  29. Defendant violated § 1679b(b) through its charging and receiving of money for services

agreed to perform before such services were fully performed. Defendant improperly charged and

retained Plaintiff’s payment despite not performing, let alone completely performing, the services

justifying the retention of such fees and charges.

       c. Violation of CROA § 1679c

  30. The CROA provides that a credit repair organization must provide consumers with certain

written disclosures in the contract underpinning the provision of credit repair services to

consumers. Pursuant to 15 U.S.C. § 1679c(b), “the written statement required under this section

shall be provided as a document which is separate from any written contract or other agreement

between the credit repair organization and the consumer or any other written material provided to

the consumer.”

  31. Defendant violated 15 U.S.C. §§ 1679c(a)-(b) through its failure to provide the written

disclosures required under § 1679c. Defendant never provided such disclosures, nor did it provide

a separate document containing such disclosures.

       d. Violation of CROA §§ 1679d(4) & 1679e

  32. The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair organization to

include, in the contract between them and a consumer, “a conspicuous statement in bold face type,

in immediate proximity to the space reserved for the consumer’s signature on the contract, which

reads as follows: ‘You may cancel this contract without penalty or obligation at any time before

midnight of the 3rd business day after the date on which you signed the contract. See the attached

notice of cancellation form for an explanation of this right.’” 15 U.S.C. § 1679e further outlines

the extent of a consumer’s cancellation rights under CROA while requiring such disclosure to be

given to consumers in writing.



                                                6
      Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 7 of 11




   33. Defendant violated 15 U.S.C. §§ 1679d(4) & 1679e through its complete failure to provide

the above disclosure in immediate proximity to the space reserved for Plaintiff’s signature on the

contract, as well as its failure to provide the notice of cancellation to Plaintiff.

        e. Violation of CROA § 1679f(b)

   34. The CROA, pursuant to 15 U.S.C. § 1679f(b) provides that, “[a]ny attempt by any person

to obtain a waiver from any consumer of any protection provided by or any right of the consumer

under [the CROA] shall be treated as a violation of [the CROA].”

   35. Defendant violated 15 U.S.C. § 1679f(b) through its attempt to obtain Plaintiff’s waiver

of the protections afforded him under the CROA. Defendant’s contract contain numerous efforts

to obtain a waiver of Plaintiff’s vital consumer protection rights protected by the CROA,

including but not limited to the protection regarding the time of when Defendant’s fees are

“earned” and when Defendant may properly collect such fees.

   36. The CROA further dictates that any contract found not to be in compliance with the CROA

“shall be treated as void” and “may not be enforced by any Federal or State court or any other

person.” 15 U.S.C. § 1679f(c).

   WHEREFORE, Plaintiff, KENNETH TOPP, respectfully requests that the Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff actual damages to be determined at trial, as provided under 15 U.S.C.
      § 1679g(a)(1);

   c. Awarding Plaintiff punitive damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. § 1679g(a)(2)(A);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §
      1679g(a)(3); and



                                                  7
       Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 8 of 11




   e. Awarding any other relief as the Arbitrator deems just and appropriate.

        COUNT II – VIOLATIONS OF THE TEXAS CREDIT SERVICES ORGANIZATION ACT

   37. Plaintiff restates and realleges paragraphs 1 through 46 as though fully set forth herein.

   38. Plaintiff is a “consumer” as defined by Tex. Fin. Code § 393.001(1).

   39. Defendant is a “credit services organization” as defined by Tex. Fin. Code § 393.001(3).

           a. Violations of Tex. Fin. Code §§ 393.20 & 393.202

   40. The TCSOA, pursuant to Tex. Fin. Code § 393.201, outlines certain requirements of the

contracts entered into between consumers and credit services organizations. § 393.202 discusses

the nature of a consumer’s right to cancel contracts and how such right must be disclosed to

consumers.

   41. Defendant violated §§ 393.201(b)(1)-(4) & 393.202 through their failure to provide the

information required under Texas law in the contract with Plaintiff. Defendant’s contract plainly

fails to contain the requisite information.

           b. Violations of Tex. Fin. Code § 393.302

   42. The TCOSA, pursuant to Tex. Fin. Code § 393.302, prohibits credit service organizations

from receiving money for their services before such services are fully performed.

   43. Defendant violated § 393.302 in much the same way it violated § 1679b(b) of the CROA.

           c. Violations of Tex. Fin. Code §§ 393.304(1) & 393.305

   44. The TCSOA, pursuant to Tex. Fin. Code § 393.304(1), prohibits a credit services

organization from “mak[ing] or us[ing] a false or misleading representation in the offer or sale of

the services of the organization.” Similarly, pursuant to Tex. Fin. Code § 393.305, “[a] credit

services organization or a representative of the organization may not directly or indirectly engage




                                                8
      Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 9 of 11




in a fraudulent or deceptive act, practice, or course of business relating to the offer or sale of the

services of the organization.”

   45. Defendant violated §§ 393.304(1) & 393.305 in much the same way it violated §§

1679b(a)(3)-(4) of the CROA.

   WHEREFORE, Plaintiff, KENNETH TOPP, respectfully requests that the Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages pursuant to Tex. Fin. Code § 393.503(a)(1);

   c. Awarding Plaintiff punitive damages pursuant to Tex. Fin. Code § 393.503(b);

   d. Enjoin Defendant from further violations of law pursuant to Tex. Fin. Code § 393.502,

   e. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Tex. Fin. Code §§
      393.503(a)(2)-(3); and,

   f. Awarding any other relief the Honorable Court deems just and appropriate.


  COUNT III – VIOLATIONS OF THE TEXAS CONSUMER DEBT MANAGEMENT SERVICES ACT

   46. Plaintiff restates and realleges paragraphs 1 through 45 as though fully set forth herein.

   47. Plaintiff is a “consumer” as defined by Tex. Fin. Code § 394.202(4).

   48. Defendant is a “provider” of “debt management service” as defined by Tex. Fin. Code §§

394.202(6) & (10).

           a. Violations of Tex. Fin. Code § 394.207

   49. The TCDMSA, pursuant to Tex. Fin. Code § 394.207, provides that “[a] provider may not

engage in false or deceptive advertising,”

   50. Defendant violated § 394.207 in much the same way its deceptive representations regarding

the nature of, and fees surrounding, its services violated § 1679b(a)(3)-(4) of the CROA.

                                                  9
      Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 10 of 11




              b. Violations of Tex. Fin. Code § 394.209

    51. The TCDMSA, pursuant to Tex. Fin. Code § 394.209, outlines the various requirements of

the contracts entered into between debt management providers and consumers.

    52. Defendant violated § 394.209(b) through its failure to include the required statements,

disclosures, and information in its contract with Plaintiff.

              c. Violations of Tex. Fin. Code § 394.210

    53. The TCDMSA, pursuant to Tex. Fin. Code § 394.210(c), provides that “[a] provider may

not impose fees or other charges upon a consumer or receive payment for debt management

services until the consumer has entered into a debt management service agreement with the

provider that complies with Section 394.209.”

    54. Defendant violated § 394.210(c) through its charging of Plaintiff for its debt management

services without entering into a contract which complies with Texas law.

              d. Violations of Tex. Fin. Code § 394.212

    55. The TCDMSA, pursuant to Tex. Fin. Code § 394.212, outlines a number of prohibited

practices on the part of providers.

    56. Pursuant to § 394.212(a)(9), a provider may not “engage in an unfair, deceptive, or

unconscionable act or practice in connection with a service provided to a consumer.”

    57. Defendant violated § 394.212(a)(9) in much the same way it violated §§ 1679b(a)(3)-(4)

of the CROA.

              e. Violations of Tex. Fin. Code § 394.213

    58. Pursuant to § 394.213, “a provider has a duty to a consumer who receives debt management

services from the provider to ensure that client money held by the provider is managed properly at

all times.”



                                                 10
      Case 6:22-cv-00814-ADA-JCM Document 1 Filed 07/26/22 Page 11 of 11




   59. Defendant violated § 394.213 through its failure to ensure that Plaintiff’s money was

managed properly. As discussed above, Defendant failed to meaningfully perform the services it

represented, and similarly allowed Plaintiff’s funds to be mismanaged and applied to unnecessary

legal fees which were never actually performed.

   WHEREFORE, Plaintiff, KENNETH TOPP, respectfully requests that the Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages pursuant to Tex. Fin. Code § 394.215(c);

   c. Awarding Plaintiff punitive damages pursuant to Tex. Fin. Code § 394.215(c);

   d. Enjoin Defendant from further violations of law pursuant to Tex. Fin. Code § 394.215(d);

   e. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Tex. Fin. Code §
      394.215(c); and,

   f. Awarding any other relief the Honorable Court deems just and appropriate.


Dated: July 26, 2022                               Respectfully submitted,

                                                   s/ Nathan C. Volheim
                                                   Nathan C. Volheim, Esq. #6302103
                                                   Counsel for Plaintiff
                                                   Admitted in the Western District of Texas
                                                   Sulaiman Law Group, Ltd.
                                                   2500 South Highland Ave., Suite 200
                                                   Lombard, Illinois 60148
                                                   (630) 568-3056 (phone)
                                                   (630) 575-8188 (fax)
                                                   nvolheim@sulaimanlaw.com




                                              11
